     Case 2:23-cv-05115-SB-MRW Document 1 Filed 06/27/23 Page 1 of 17 Page ID #:1




1    Jonathan Corbett, Esq. (CA Bar No. 325608)
     CORBETT RIGHTS, P.C.
2    5551 Hollywood Blvd., Suite 1248
3    Los Angeles, CA 90028
     Phone: (310) 684-3870
4
     FAX: (310) 675-7080
5    E-mail: jon@corbettrights.com
     Attorney for Plaintiffs Jasmol Singh & Umit Bagga
6

7
                      IN THE UNITED STATES DISTRICT COURT
8                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
9
                   Jasmol Singh
10                    -and-
11
                   Umit Bagga,                      Case No. 2:23-CV-5115
                                     Plaintiffs,
12

13                       v.                         COMPLAINT
14
       DEA Special Agent Heja Rosebiani,
15      DEA Special Agent Mark Carroll,             JURY TRIAL DEMANDED
             CHP Officer Jay Sides,
16
      Fontana Police Officer Nelson Romero,
17     Unknown Fontana Police Officer 1,
                      -and-
18
       Unknown Fontana Police Officer 2,
19                                Defendants
20

21                                      Introduction
22       1.       Civil asset forfeiture was intended as a means of thwarting distributed
23   criminal enterprises whose leaders may be outside of the jurisdiction or otherwise
24   able to escape prosecution. However, given that state and federal law as written
25   today often allows law enforcement agencies to keep some or all of the assets seized,
26   a perverse incentive is created for law enforcement officers to invent criminal
27   conspiracies in their heads while ignoring all evidence to the contrary. Seize first,
28   justify later, disregard the innocent lives ruined by destroying small businesses or

                                              -1-
     Case 2:23-cv-05115-SB-MRW Document 1 Filed 06/27/23 Page 2 of 17 Page ID #:2




1    appropriating one’s life savings, and hope that the victims of their abusive practices
2    cannot afford competent counsel or can be bullied into a “settlement.”
3         2.      Plaintiffs will not be bullied any further. In October 2021, a joint drug
4    taskforce seized $200,000 from Plaintiffs Jasmol Singh and Umit Bagga’s, arresting
5    Singh in front of his customers in the process, and marking the culmination of four
6    months of harassment. These funds were the legitimate business proceeds of
7    Plaintiffs’ legitimate business of selling for export new and used cell phones, which
8    the taskforce knew or should have known, but disregarded.
9         3.      Plaintiffs had their reputations besmirched, their business destroyed,
10   and their civil rights violated. In a separate case, Plaintiffs seek the return of their
11   money. In this action, Plaintiffs seek money damages from those who repeatedly
12   violated their rights with unlawful searches and seizures, deceptive warrant
13   applications, and utter disregard for whether they were targeting innocent people.
14

15                                       Jury Demand
16        4.      Plaintiffs demand a jury trial on all issues so triable.
17

18                                           Parties
19        5.      Plaintiff Jasmol Singh is a natural person residing in Los Angeles
20   County, California, and is a partner in a business with ownership interest of the
21   seized currency.
22        6.      Plaintiff Umit Bagga is a natural person residing in Los Angeles
23   County, California, and is a partner in a business with ownership interest of the
24   seized currency.
25        7.      Defendant DEA Special Agent Heja Rosebiani is an officer of the U.S.
26   Drug Enforcement Administration (“DEA”) who personally directed the unlawful
27   acts committed against Plaintiffs. She regularly works and, upon belief, lives, within
28   the boundaries of the Central District of California and is sued here in her individual

                                               -2-
     Case 2:23-cv-05115-SB-MRW Document 1 Filed 06/27/23 Page 3 of 17 Page ID #:3




1    capacity for constitutional violations pursuant to the framework established in
2    Bivens v. Six Unknown Named Agents, 403 U.S. 388 (1971).
3         8.        Defendant DEA Special Agent Mark Carroll is an officer of the U.S.
4    Drug Enforcement Administration (“DEA”) who personally directed the unlawful
5    acts committed against Plaintiffs. He regularly works and, upon belief, lives, within
6    the boundaries of the Central District of California and is sued here in his individual
7    capacity for constitutional violations pursuant to the framework established in
8    Bivens v. Six Unknown Named Agents, 403 U.S. 388 (1971).
9         9.        Defendant CHP Officer Jay Sides is an officer of the California
10   Highway Patrol who conducted an unlawful pretext stop and search of Plaintiff
11   Singh. He regularly works and, upon belief, lives, within the boundaries of the
12   Central District of California and is sued here in his individual capacity for violation
13   of rights under color of state law pursuant to the Civil Rights Act, 42 U.S.C. § 1983.
14        10.       Defendant Fontana Police Officer Nelson Romero is an officer of the
15   Fontana Police Department who seized the currency owned by Plaintiffs. He
16   regularly works and, upon belief, lives, within the boundaries of the Central District
17   of California and is sued here in his individual capacity for violation of rights under
18   color of state law pursuant to the Civil Rights Act, 42 U.S.C. § 1983.
19        11.       Defendant Unknown Fontana Police Officer 1 is an officer of the
20   Fontana Police Department who arrested Plaintiff Singh, and whose name is not yet
21   known to Plaintiffs1.        He regularly works and, upon belief, lives, within the
22   boundaries of the Central District of California and is sued here in his individual
23

24

25          1
              Although Plaintiffs are in possession of the names of several law enforcement officers
26
     present at the time Plaintiff Singh was arrested, it is not currently known to Plaintiffs which law
     enforcement officer actually effected the arrest. Plaintiffs note that it is possible that Defendant
27   Fontana Police Officer Nelson Romero and Defendant Unknown Fontana Police Officer 1 are the
     same person. Plaintiffs will amend their complaint with this officer’s true identity as soon as
28   discovery reveals it.

                                                    -3-
     Case 2:23-cv-05115-SB-MRW Document 1 Filed 06/27/23 Page 4 of 17 Page ID #:4




1    capacity for violation of rights under color of state law pursuant to the Civil Rights
2    Act, 42 U.S.C. § 1983.
3         12.       Defendant Unknown Fontana Police Officer 2 is an officer of the
4    Fontana Police Department who searched Plaintiff Singh’s car at the time of the
5    currency seizure, and whose name is not yet known to Plaintiffs2. He regularly
6    works and, upon belief, lives, within the boundaries of the Central District of
7    California and is sued here in his individual capacity for violation of rights under
8    color of state law pursuant to the Civil Rights Act, 42 U.S.C. § 1983.
9

10                                       Jurisdiction & Venue
11        13.       The Court has federal question subject-matter jurisdiction over all
12   causes of action brought herein pursuant to 28 U.S.C. § 1331. The federal laws
13   giving rise to the claims are 42 U.S.C. § 1983 and U.S. CONST., AMEND. IV.
14        14.       The Court has general personal jurisdiction over all defendants because
15   they all regularly work and, upon belief, reside, within the State of California, and
16   in the alternative, has specific personal jurisdiction over the same because their
17   purposeful contacts within the state gave rise to the incident described in this
18   complaint.
19        15.       The Court is a proper venue because this action is brought in a judicial
20   district in which at least one defendant resides and all defendants are residents of the
21   state in which this judicial district is located, pursuant to 28 U.S.C. § 1391(b)(1); in
22   the alternative, the events or omissions giving rise to this complaint occurred within
23   this judicial district pursuant to subsection (b)(2).
24

25

26          2
              Once again, it is possible that Defendant Fontana Police Officer Nelson Romero and
27   Defendant Unknown Fontana Police Officer 2 are the same person, or that unknowns 1 and 2 are
     the same person, or all three. Plaintiffs will amend their complaint with this officer’s true identity
28   as soon as discovery reveals it.

                                                     -4-
     Case 2:23-cv-05115-SB-MRW Document 1 Filed 06/27/23 Page 5 of 17 Page ID #:5




1                                          Statement of Facts
2         16.       In or before July 2021, a joint law enforcement taskforce known as
3    “TFG-2,” consisting of officers of the DEA and local police officers, began
4    investigating an individual named Pablo Flores whom they suspected was a drug
5    trafficker, and his suspected associates.
6         17.       At various points in 2021, to further their investigation, they obtained a
7    warrant (or extension of the same) to wiretap several cell phones suspected to be
8    used by Flores and his suspected associates.
9         18.       Between July and October 2021, Plaintiff Singh was intercepted by
10   TFG-2 several times discussing with Flores or his associates3 the purchase and sale
11   of cell phones, as well arranging to pick up cash payments.
12        19.       In fact, Singh and his partner, Plaintiff Bagga, had operated a business
13   for years primarily involving the purchase of new and used phones in the United
14   States for resale in emerging markets, such as Mexico.
15        20.       Scarcity of such devices in emerging markets results in premium
16   pricing, even for devices that are slightly older models that, in the United States,
17   may be of lesser value due to easy access to, and demand for, the latest models.
18        21.       Singh would generally purchase new phones directly from Apple.
19        22.       Singh would generally purchase used phones direct from consumers,
20   using Craigslist (an online classified ads Web site) or similar means.
21        23.       Singh’s business was conducted using a mix of cash, check, and
22   electronic payments, and tens or hundreds of thousands of dollars of business were
23   conducted using each of these three forms of payments in 2021.
24

25

26          3
              Plaintiffs do not know a man named Pablo Flores. If they had ever spoken to Flores,
27   Flores provided a false identity to Plaintiffs. Because it matters not in this complaint, Plaintiffs
     adopt the government’s position, taken in the civil forfeiture proceeding, that Flores or his
28   associates were on the other end of these conversations.

                                                    -5-
     Case 2:23-cv-05115-SB-MRW Document 1 Filed 06/27/23 Page 6 of 17 Page ID #:6




1         24.      Buyers from emerging markets are traditionally more likely to use cash
2    than American customers, even for large purchases, due to distrust of their banking
3    systems, high transaction or currency exchange fees, or other reasons.
4         25.      Likewise, sellers on Craigslist traditionally demand cash due to the
5    semi-anonymous nature of these transactions and the possibility of fraud (e.g., if
6    they accept a PayPal transaction, there is a risk that the transaction may be
7    fraudulently reversed after the sale).
8         26.      It was, thus, reasonable and expected for Plaintiffs’ business to conduct
9    a significant portion of its business in cash and, suffice to say, all transactions
10   overheard on wiretaps were for the legitimate sale of legitimate goods.
11        27.      At no time did law enforcement ever overhear any plaintiff referring to
12   illegal drugs, money laundering, or any other illegal activity.
13        28.      At no time did Plaintiffs knowingly participate in any transactions for
14   or in support of the drug trade, money laundering, or any other illegal activity.
15        29.      Notwithstanding the evidence at their fingertips that Plaintiffs were cell
16   phone dealers, not drug dealers, TFG-2 decided to investigate Plaintiff Singh.
17        30.      However, instead of using legitimate, reasonable investigative
18   techniques – interviews, surveillance, etc. – TFG-2 apparently decided it would be
19   easier to “play dirty.”
20        31.      Defendants DEA SA Heja Rosebiani and DEA SA Mark Carroll were
21   the leaders of this investigation.
22        32.      At some point between July 8th, 2021 and July 28th, 2021, Rosebiani
23   and Carroll directed4 Defendant CHP Officer Jay Sides to follow Singh while he was
24   driving, invent a reason to pull him over, and search his car.
25

26

27
            4
              It is unclear if this direction was provided directly to Sides or was made through other
28   officers who assigned the task to Sides; for the purposes of this complaint, it matters not.

                                                   -6-
     Case 2:23-cv-05115-SB-MRW Document 1 Filed 06/27/23 Page 7 of 17 Page ID #:7




1         33.      Upon belief, Rosebiani and Carroll chose this approach because they
2    knew they did not have probable cause to obtain a warrant to conduct a search, and/or
3    because it required less effort than conducting actual legitimate fieldwork.
4         34.      On or about July 28th, 2021, south of Los Angeles and within the district
5    boundaries of this Court, Sides did, in fact, pull over Singh while he was driving.
6         35.      Sides approached Singh advised him that he was speeding.
7         36.      Singh was not, in fact, traveling in excess of the speed limit.
8         37.      Sides knowingly used this false allegation of speeding as a pretext to
9    stop Singh’s vehicle.
10        38.      During the stop, Sides questioned Singh and his passengers.
11        39.      Sides asked Singh for consent to search his vehicle, which he provided.
12        40.      Sides and/or fellow officers conducted a roadside search.
13        41.      No drugs, money, or other evidence of criminality were found, and a
14   drug dog alert was negative.
15        42.      However, approximately 100 cell phones were found.
16        43.      Uninterested in cell phones, but undeterred by finding nothing of
17   interest, Sides towed Singh’s vehicle back to a CHP station for further examination.
18        44.      Additionally, Sides placed Singh in handcuffs before transporting him
19   and, upon arrival at the station, directed him to wait.
20        45.      Sides and/or fellow officers conducted a thorough search of the vehicle
21   at the station.
22        46.      Nothing of significance but cell phones were found.
23        47.      Approximately two hours after he was handcuffed, and approximately
24   four hours after the pretext stop was initiated, Singh was uncuffed and told he was
25   free to go.
26        48.      Apparently out of ideas, upon information and belief, Rosebiani and
27   Carroll took no further steps in their investigation of Singh for the next month-and-
28   a-half.

                                               -7-
     Case 2:23-cv-05115-SB-MRW Document 1 Filed 06/27/23 Page 8 of 17 Page ID #:8




1         49.       On September 11th, 2021, Plaintiff Singh was again recorded speaking
2    with Flores or his agents about a cash payment via a wiretap on Flores’ phone.
3         50.       Despite having no more evidence than they had in July, and indeed now
4    possessing the exculpatory evidence of a vehicle free of drugs and cash but replete
5    with cell phones, TFG-2 decided to obtain a warrant to directly wiretap Singh’s
6    phone.
7         51.       However, merely speaking to a suspected drug trafficker about a cash
8    payment is not probable cause sufficient to obtain a warrant because there must be a
9    means of determining if the payment was for legal goods and services.
10        52.       To get around this, Carroll authored a wiretap application package that
11   deceptively lumped the request to wiretap Singh’s phone in with two other
12   individuals – Flores and “Tony” – for whom the government had ample probable
13   cause, and further supported the application with claims that, at least as to Singh, are
14   false and Carroll had no reason to believe were true.
15        53.       Carroll’s affidavit in support of the wiretap application is attached as
16   Exhibit A.
17        54.       The evidence presented in the affidavit supporting the wiretap against
18   Flores was well-founded via field surveillance of prior drug deals:
19            a. “[I]nvestigators observed [Flores] meet with the user of (951) 783-
20                [XXXX] and deliver two (2) heavily weighted boxes to her (UF4702).
21                Based on intercepted communications, [Flores] confirmed the delivery of
22                $900,000.00 of illicit narcotics proceeds.”
23            b. “[I]nvestigators observed [Flores] and UM4894 meet which was
24                supported by intercepted communications. Investigators continued
25                mobile surveillance on UM4894 […and…] eventually made contact with
26                UM4894, and during a search of a residence, located approximately 19
27                kilograms of cocaine and $22,000.00 of illicit narcotics proceeds.” Ex.
28                A., p. 36, ¶ 57.

                                                -8-
     Case 2:23-cv-05115-SB-MRW Document 1 Filed 06/27/23 Page 9 of 17 Page ID #:9




1        55.      The evidence presented in the affidavit supporting the wiretap against
2    “Tony” was well-founded via facts establishing that the price of a kilogram of
3    cocaine in Southern California is typically $22,000 - $28,000 (Ex. A, p. 17, ¶ 24),
4    and then the following wire intercept (Ex. A, pp. 22, 23, ¶ 36):
5              “TONY asked how much it (narcotics) was going for over where
6              Pop Smoke's cousin was (New York). PABLO said it (price) was
7              at 30 ($30,000) and the people there sold it at 33 ($33,000).
8              PABLO said that dude gave them (narcotics) to his (dude's)
9              people at 29 ($29,000) or at 30 ($30,000). PABLO said they
10             (narcotics) were between 32 ($32,000) and 33 ($33,000). TONY
11             said he (TONY) thought that he (PABLO) had some (narcotics)
12             up there (New York) already. PABLO said no and said he went
13             to get them (narcotics) from down there (California). PABLO
14             said he got them (narcotics) at the price from Los Angeles
15             (California), and he took care of his own transportation. TONY
16             said okay. TONY said he (TONY) misunderstood. PABLO
17             asked many TONY wanted. TONY said he (TONY) wanted
18             about 10 (units of narcotics) up there.”
19       56.      However, the entirety of the evidence provided by Carroll as to
20   Plaintiffs’ participation in drug trafficking was a single phone call in which Singh
21   was to receive “80” (presumably, $80,000) from Flores (Ex. A, p. 21, ¶ 34):
22             “PABLO said he (PABLO) was calling regarding 80 ($80,000)
23             "documents" (money).        [Singh] asked if PABLO said 60
24             ($60,000). PABLO said it was for 80 ($80,000). [Singh] asked
25             if PABLO spoke English. PABLO asked what area [Singh] was
26             in. [Singh] told PABLO to send his location. PABLO said he
27             (PABLO) just received UM4860's information and was busy in
28             Santa Monica (California) right now. PABLO said he (PABLO)

                                              -9-
     Case 2:23-cv-05115-SB-MRW Document 1 Filed 06/27/23 Page 10 of 17 Page ID #:10




1                did not have it (money) on his person. [Singh] said okay. [Singh]
2                asked again if PABLO spoke English or not. PABLO said he
3                (PABLO) did speak English.”
4          57.     In order to supplement this obviously deficient basis for obtaining a
5     warrant, Carroll added in multiple conclusory statements for which he had no reason
6     (other than Singh receiving a payment) to believe:
7                a. “During this narcotics investigation, [Singh] coordinates the
8                  transportation and distribution of illicit narcotics proceeds derived from
9                  the sale of multi-kilogram loads of cocaine on behalf of the DTO.
10                 [Singh] is a narcotics associate of [Flores].” Ex. A, p. 9, ¶ 14(b).
11               b. “[Singh’s Phone], [Tony’s Phone], and [Flores’ Phone] is/are being
12                 utilized to facilitate the transportation and distribution of multi-
13                 kilogram loads of cocaine, multi-pound loads of methamphetamine,
14                 and/or the illicit narcotics proceeds derived from the sale…” Ex A., p.
15                 12, ¶ 16(g).
16               c. “During this narcotics investigation, RDO TFG-2 investigators
17                 identified cellular telephone number [Singh’s Phone Number] is being
18                 used to facilitate the criminal activities of the Drug Trafficking
19                 Organization (DTO)…” Ex. A, p. 20, 21, ¶ 33.
20         58.     Carroll then further lied in his affidavit regarding “necessity and
21    exhaustion,” required under California law before a wiretap warrant shall issue.
22         59.     For example, Carroll stated: “Based on the complexity and
23    sophistication of the DTO, there is no other way to infiltrate and understand the inner
24    structure and dynamic of the DTO without the interception of the wire or electronic
25    communications over [Singh’s Phone].” Ex. A, p. 32, ¶ 48.
26         60.     But, upon information and belief, no interviews, surveillance, or other
27    field work was even attempted (beyond the illegal pretext stop from July).
28


                                               - 10 -
     Case 2:23-cv-05115-SB-MRW Document 1 Filed 06/27/23 Page 11 of 17 Page ID #:11




1         61.      Carroll also stated: “During this narcotics investigation, the Target
2     Telephone(s) have been intercepted communicating with members of the DTO
3     residing and operating in Mexico. … Therefore, there is no other possible means of
4     infiltrating the DTO’s Mexico-based-narcotics suppliers without the use of an
5     electronic intercept on the Target Telephones…”
6         62.      But, at least as to Singh, this was not true at all: the government has
7     never intercepted Singh speaking to a cartel member in Mexico.
8         63.      Nor has any plaintiff ever been intercepted speaking to any other
9     alleged drug trafficker besides Flores.
10        64.      In short, at worst, one of Plaintiffs’ cell phone customers was
11    (unbeknownst to them) a drug dealer and neither Rosebiani, Carroll, or any other
12    government official was in possession of any reason to think otherwise.
13        65.      Based on Carroll’s misleading lumping of Singh in with Flores and
14    “Tony,” together with his false conclusory statements that Singh is known to
15    coordinate drug deals, that Singh is known to work with the cartels, that Singh
16    communicates to cartel members internationally, and that there was no other way to
17    continue their investigation but via use of a wiretap, the warrant was approved by a
18    judge.
19        66.      Notwithstanding, TFG-2 got from their new wiretap nothing but more
20    of the same: conversations about cell phones and payments for the same.
21        67.      Over the next month of wiretapping Singh’s phone, in addition to the
22    previous four months where Singh was occasionally overheard speaking to Flores or
23    his associates, at no point did the government ever overhear Singh mention drugs,
24    money laundering, or any illegal activity whatsoever, whether using coded or plain
25    language.
26        68.      Eventually, using their illegally-obtained wiretap, TFG-2 came to learn
27    that Plaintiffs were to receive a larger cash payment, and decided that this would be
28    their opportunity to seize some money.

                                                - 11 -
     Case 2:23-cv-05115-SB-MRW Document 1 Filed 06/27/23 Page 12 of 17 Page ID #:12




1            69.    On October 8th, 2021, TFG-2 dispatched non-taskforce Fontana Police
2     Officers, including Defendants Fontana Police Officer Nelson Romero, Unknown
3     Fontana Police Officer 1 (“UFPO1”), and Unknown Fontana Police Officer 2
4     (“UFPO2”), to seize the cash payment.
5            70.    On that date, Romero, UFPO1, and UFPO2 did stop two individuals
6     bringing that cash payment to Plaintiffs.
7            71.    Romero, UFPO1, and UFPO2 did not have probable cause or a warrant
8     to stop these individuals, search their vehicle, or seize the cash.
9            72.    Romero personally conducted the seizure of the cash.
10           73.    UFPO1 personally placed Singh in handcuffs, in front of Singh’s
11    shocked customers and employees at his family business5.
12           74.    UFPO1 did not have probable cause or a warrant to arrest Singh.
13           75.    One of the Fontana Police Officers present on the scene took possession
14    of Singh’s car keys.
15           76.    Singh did not consent to the taking of his car keys, nor a search of his
16    vehicle.
17           77.    Singh was not in or near his vehicle at the time he was placed in
18    handcuffs.
19           78.    UFPO2 did not have probable cause that Singh’s car contained
20    evidence of a crime, and were not otherwise lawfully authorized to search Singh’s
21    car.
22           79.    Notwithstanding, UFPO2 searched Singh’s car.
23           80.    No contraband or cash was found.
24           81.    After questioning all three arrested individuals and seizing the cash,
25    Romero, UFPO1, and UFPO2 allowed all individuals to leave.
26

27
              5
                In addition to his cell phone company, Plaintiffs own a restaurant, which is where the
28    seizure took place.

                                                   - 12 -
     Case 2:23-cv-05115-SB-MRW Document 1 Filed 06/27/23 Page 13 of 17 Page ID #:13




1          82.       If there were probable cause to seize the cash, there would necessarily
2     have been probable cause that these three individuals were committing a felony.
3          83.       Upon belief, Romero, UFPO1, UFPO2, and TFG-2 allowed all three
4     individuals to leave without charges because under civil forfeiture laws, the law
5     enforcement agency would be able to keep a greater percentage of the cash seized.
6          84.       In other words, it is indisputable that one of the two is true:
7                  a. The defendants believed they were dealing with drug dealers and/or
8                    money launderers, and had probable cause of the same, but chose not
9                    to arrest them.
10                 b. The defendants knew they had insufficient evidence that they were
11                   dealing with drug dealers and/or money launderers, but conducted
12                   unlawful searches and seized the cash anyway knowing that Plaintiffs
13                   will have to fight for its return.
14           85.     The cash, in actuality, was payment for $200,000 worth of cell phones
15    that had already been shipped to a buyer.
16           86.     If the source of any of that $200,000 was illegal activities, Plaintiffs had
17    no knowledge of the same, and were not participants in any illegal activities: they
18    merely sell cell phones.
19           87.     Likewise, Plaintiffs had no reason to know if any of the $200,000 was
20    sourced from illegal activities.
21           88.     Plaintiffs, scared and without the capital necessary to continue their
22    business, were forced to discontinue doing business shortly after the seizure.
23           89.     Plaintiffs experienced emotional distress as a result of being publicly
24    shamed, handcuffed, and abused, and as a result of the loss of their business and,
25    effectively, their life savings.
26           90.     Plaintiffs also experienced other negative consequences as a result of
27    Defendants’ illegal conduct:
28


                                                  - 13 -
     Case 2:23-cv-05115-SB-MRW Document 1 Filed 06/27/23 Page 14 of 17 Page ID #:14




1                 a. Plaintiffs’ business bank account with Chase Bank was closed. Upon
2                    information and belief, this was the result of the bank receiving a letter
3                    from the DEA subpoenaing their bank records which caused the bank
4                    to believe the government had marked them as drug dealers.
5                 b. The U.S. Department of Homeland Security has suspended Plaintiff
6                    Singh’s trusted traveler program membership.
7                 c. Plaintiffs were paying for extremely costly care of their6 elderly, dying
8                    mother. As a result of the seizure of their cash, Plaintiffs were unable
9                    to continue paying for that care. Plaintiffs’ mother passed away shortly
10                   thereafter7.
11

12
                                           Claims for Relief
13
                 Count 1 – Violation of 42 U.S.C. § 1983 via Fourth Amendment
14
                              Against Defendant CHP Officer Jay Sides
15
           91.       Singh has a right under the Fourth Amendment to the United States
16
      Constitution to be free from being detained without probable cause or warrant.
17
           92.       By conducting a pretext stop, pretending that there was a lawful reason
18
      to pull over Singh when there was not, Sides violated that right and any “consent”
19
      obtained thereafter was invalid.
20
           93.       Even if there had been a lawful reason to stop Singh, and even if Singh
21
      had consented to the initial search, by transporting Singh to a police station and
22
      handcuffing him, Sides violated Singh’s Fourth Amendment rights.
23
           94.       Sides was acting under color of state law.
24

25
             6
26
               Plaintiffs are brother and sister.
             7
               Plaintiffs do not allege that their mother would not have died but for Defendants’ acts;
27    however, Plaintiffs do allege that their mother may have lived longer and/or more comfortably but
      for those acts, and Plaintiffs experienced emotional anguish from not being able to provide their
28    beloved mother the best possible care at the end of her life.

                                                   - 14 -
     Case 2:23-cv-05115-SB-MRW Document 1 Filed 06/27/23 Page 15 of 17 Page ID #:15




1         95.       Sides acted with intent to unlawfully arrest Singh.
2         96.       Singh was conscious of the confinement at all times and, reasonably,
3     believed that he was not free to go.
4         97.       Singh did not consent to be handcuffed and detained.
5         98.       Accordingly, Sides is liable to Singh under 42 U.S.C. § 1983.
6

7                    Counts 2-3 – Fourth Amendment Unlawful Seizure
8           Against Defendants DEA SA Heja Rosebiani & DEA SA Mark Carroll
9         99.       Plaintiffs reference and re-allege ¶¶ 91 – 97.
10        100.      When Rosebiani and Carroll ordered the pretext stop of Singh, they
11    understood and either intended or consciously disregarded the near certainty that
12    Singh’s rights would be violated in the process.
13        101.      By ordering another to violate Singh’s rights, Rosebiani (Count 2) and
14    Carroll (Count 3) are liable for that violation pursuant to the framework of Bivens.
15

16              Count 4 – Violation of 42 U.S.C. § 1983 via Fourth Amendment
17                 Against Defendant Fontana Police Officer Nelson Romero
18        102.      Singh has a right under the Fourth Amendment to the United States
19    Constitution to be free from seizure of his property without probable cause or
20    warrant.
21        103.      Romero did seize property – $200,000 cash – belonging to Plaintiffs.
22        104.      Romero had neither probable cause nor a warrant.
23        105.      Romero was acting under color of state law.
24        106.      Romero acted with intent to unlawfully seize Plaintiffs’ property.
25        107.      Accordingly, Romero is liable to Singh under 42 U.S.C. § 1983.
26

27

28


                                               - 15 -
     Case 2:23-cv-05115-SB-MRW Document 1 Filed 06/27/23 Page 16 of 17 Page ID #:16




1             Count 5 – Violation of 42 U.S.C. § 1983 via Fourth Amendment
2                   Against Defendant Unknown Fontana Police Officer 1
3         108.     Singh has a right under the Fourth Amendment to the United States
4     Constitution to be free from being detained without probable cause or warrant.
5         109.     UFPO1 did arrest Singh.
6         110.     UFPO1 had neither probable cause nor a warrant to arrest Singh.
7         111.     UFPO1 was acting under color of state law.
8         112.     UFPO1 acted with intent to unlawfully arrest Singh.
9         113.     Singh was conscious of the confinement at all times and, reasonably,
10    believed that he was not free to go.
11        114.     Singh did not consent to be handcuffed and detained.
12        115.     Accordingly, UFPO1 is liable to Singh under 42 U.S.C. § 1983.
13

14            Count6 – Violation of 42 U.S.C. § 1983 via Fourth Amendment
15                  Against Defendant Unknown Fontana Police Officer 2
16        116.     Singh has a right under the Fourth Amendment to the United States
17    Constitution to be free from search without probable cause, warrant, or exception to
18    the warrant requirement.
19        117.     UFPO2 did search Singh’s vehicle.
20        118.     UFPO2 had neither probable cause nor a warrant to search Singh’s car.
21        119.     The search cannot be considered a lawful search incident to arrest
22    because Singh was nowhere near his vehicle at the time he was handcuffed.
23        120.     UFPO2 was acting under color of state law.
24        121.     UFPO2 acted with intent to unlawfully search Singh’s property.
25        122.     Singh did not consent to the search.
26        123.     Accordingly, UFPO2 is liable to Singh under 42 U.S.C. § 1983.
27

28


                                             - 16 -
     Case 2:23-cv-05115-SB-MRW Document 1 Filed 06/27/23 Page 17 of 17 Page ID #:17




1                                        Prayer for Relief
2            WHEREFORE, Plaintiffs pray that the Court order the following relief:
3       i.   Actual damages, jointly and severally against all defendants, in the amount of
4            $2,500,000, for loss of liberty, unlawful search, and garden-variety emotional
5            distress;
6      ii.   Punitive damages in the amount of $5,000,000 against all defendants, jointly
7            and severally, for their intentional violation of Plaintiffs’ rights;
8     iii.   Reasonable attorney’s fees;
9      iv.   Cost of the action;
10     v.    Interest as allowed by law; and
11     vi.   Any such further relief as the Court deems proper.
12

13

14

15

16

17

18

19

20    Dated:        Los Angeles, CA                      Respectfully submitted,
21                  June 27th, 2023
22                                                       _______/s/Jonathan Corbett_______
                                                         Jonathan Corbett, Esq. (CA Bar 325608)
23                                                       CORBETT RIGHTS, P.C.
24                                                       5551 Hollywood Blvd., Suite 1248
                                                         Los Angeles, CA 90028
25
                                                         Phone: (310) 684-3870
26                                                       FAX: (310) 675-7080
                                                         E-mail: jon@corbettrights.com
27

28


                                                - 17 -
